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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TENNESSEE
                            WESTERN DIVISION


JESSICA JONES, et al.,                   Case No. 2:20-cv-02892-SHL-tmp

                Plaintiﬀs,

v.

VARSITY BRANDS, LLC, et al.

                Defendants.




      PLAINTIFFS’ NOTICE OF UNOPPOSED MOTION FOR PRELIMINARY
                      APPROVAL OF SETTLEMENT




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                                     NOTICE OF MOTION

       Pursuant to Fed. R. Civ. P. 23, Plaintiﬀs Jessica Jones, Christina Lorenzen, and Amy

Coulson hereby move the Court for an order:

       1.      Granting preliminary approval of the proposed Settlement between Plaintiﬀs and

Defendants, and preliminarily ﬁnding pursuant to Fed. R. Civ. P. 23(c)(2) and 23(e) that the

terms of the proposed Settlement, as encompassed by the Settlement Agreement ﬁled herewith,

are fair, reasonable, and adequate as to the absent members of the proposed State Law Damages

Class and Injunctive Relief Class (“Settlement Classes”);

       2.      Finding that the Court will likely be able to certify the proposed Settlement

Classes as deﬁned in the Settlement Agreement pursuant to Fed. R. Civ. P. 23 (a) and (b);

       3.      Approving Plaintiﬀs as representatives of the Settlement Classes;

       4.      Approving (a) Joseph Saveri Law Firm, LLP, as Plaintiﬀs’ lead class counsel; (b)

Paul LLP, Hartley LLP, and Gustafson Gluek PLLC as Plaintiﬀs’ executive committee counsel;

and (c) Turner Feild, PLLC as Plaintiﬀs’ liaison counsel; ﬁnding that all will fairly and

adequately protect the interests of the Settlement Classes; and collectively approving all of the

above counsel as Settlement Class Counsel pursuant to Fed. R. Civ. P. 23(c)(1)(B) and (g);

       5.      Appointing Angeion Group LLC as Settlement Administrator;

       6.      Appointing Citibank N.A. as Escrow Agent;

       7.      Approving Plaintiﬀs’ proposed Notice Plan and authorizing dissemination of

notice to the proposed Settlement Classes pursuant to Fed. R. Civ. P. 23(c)(2);

       8.      Setting a date for the Final Settlement Fairness Hearing and authorizing Plaintiﬀs’

proposed schedule for completing the approval process.

       WHEREFORE, for the reasons set forth in the accompanying memorandum of law and

exhibits, together with all documents entered in the Court’s docket and transcripts of proceedings

in this matter, and any oral argument that shall be taken, Plaintiﬀs respectfully request that the

Court grant this motion and enter the Proposed Order ﬁled herewith. Defendants do not oppose

this motion.

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Dated: May 13, 2024                   Respectfully submitted,

                                      By:       /s/ Joseph R. Saveri
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                           CERTIFICATE OF CONSULTATION

       I hereby certify, pursuant to Local Rule 7.2(a)(1)(B), that my ﬁrm consulted with

Defendants’ counsel via email regarding this motion. No party opposed the relief sought.

                                                                    /s/ Joseph R. Saveri

                                                                    Joseph R. Saveri




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